Case1:03-cv-01210-.]DT-STA Document 52 Filed 06/23/05 Pagelof 12 F{g@(éj 53
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FoR THE WESTERN DisTRICT oF TENNESSE;E:_" - “}’
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TERRY MATTHEWS, MIKE VANCE
and ROBERT JAGGERS,

Plaintiffs,
VS. No. 03-l2IO-T/An
MCNAIRY COUNTY, TENNESSEE and
TOMMY RILEY, in his Off`lcial Capacity
as Sheriff of McNairy County and
Individually,

Defendants.

 

ORDER GRANTING DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

 

This action was filed pursuant to 42 U.S.C. § 1983 by plaintiffs Terry Matthews,
Mike Vance,‘ and Robert Jaggers against McNairy County, Tennessee, and McNairy County
Sheriff Tomrny Riley. Plaintiffs were formerly employed as deputies by the McNairy
County SherifF s Department. The complaint alleges that they Were terminated in violation
of their right to due process under the Fourteenth Amendment and in retaliation for
exercising their First Amendment right to openly support Riley’s opponent, incumbent

sheriff Paul Ervin, in the 2002 election. Plaintiffs also invoke the Court’s supplemental

 

l On October 8, 2004, the Court issued an order granting defendants’ motion to dismiss the claims of
plaintiff Mike Vance with prejudice The Court noted that counsel for the plaintiffs had been unable to locate
Vance since the action was filed1 so that there had been no response to the defendants’ discovery requests

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Case 1:03-cv-01210-.]DT-STA Document 52 Filed 06/23/05 Page 2 of 12 Page|D 54

jurisdiction to hear causes of action under Tennessee law for wrongful termination under
Tenn. Code Ann. § 7-51-1501 and defamation, specifically, providing false information to
prospective employers under Tenn. Code Ann. § 50-1 -105. Plaintiffs seek an award of both
compensatory and punitive damages Before the Court is the defendants’ motion for
summary judgment, to which plaintiffs have filed a response.

Motions for summary judgment are governed by Fed. R. Civ. P. 56. If no genuine
issue of material fact exists and the moving party is entitled to judgment as a matter of law,
summary judgment is appropriate Fed. R. Civ. P. 56(c). The moving party may support the
motion for summary judgment with affidavits or other proof or by exposing the lack of
evidence on an issue for which the nonmoving party will bear the burden of proof at trial.
Celotex Corp. v. Catrett, 477 U.S. 317, 324 (1986). The opposing party may not rest upon
the pleadings but must go beyond the pleadings and “by affidavits or as otherwise provided
in this rule, must set forth specific facts showing that there is a genuine issue for trial.” Fed.

R. Civ. P. 56(e); see also Celotex Corp., 477 U.S. at 323.

 

“lf the defendant . . . moves for summary judgment . . . based on the lack of proof of
a material fact, . . . [t]he mere existence of a scintilla of evidence in support of the plaintiff s
position will be insufficient; there must be evidence on which the jury could reasonably find
for the plaintif Anderson v. Libertv Lobbv. lnc., 477 U.S. 242, 252 (1986). However,
the court’s function is not to weigh the evidence, judge credibility, or in any way determine

the truth of the matter but only to determine whether there is a genuine issue for trial. I_d_. at

Case 1:03-cv-01210-.]DT-STA Document 52 Filed 06/23/05 Page 3 of 12 Page|D 55

249. Rather, “[t]he inquiry on a summary judgment motion . . . is . . . ‘whether the evidence
presents a sufficient disagreement to require submission to a [trier of fact] or whether it is
so one-sided that one party must prevail as a matter of law.”’ Street v. J.C. Bradford & Co.,
886 F.2d 1472, 1479 (6th Cir. 1989) (quoting leiber Lobby, 477 U.S. at 251-52). Doubts
as to the existence of a genuine issue for trial are resolved against the moving party.
Adickes v. S. H. Kress & Co.. 398 U.S. 144, 158-59 (1970).

The unrefuted facts in the record show that in 2002 plaintiffs Matthews and }aggers
were employed as deputies with the McNairy County Sheriff’ s Department under Sheriff
Paul Ervin. In January of that year, plaintiffs were disciplined by Sheriff Ervin for their
involvement in an attempt to play a practical joke on the 91 l dispatchers The plan was for
Matthews to climb through the ceiling in the men’s restroom, while Jaggers held the ladder
for him. Matthews then would crawl over to the dispatchers’ office, raise one of the ceiling
tiles there and Scare the dispatchers However, Matthews lost his footing and fell through
the ceiling into the 9ll office, getting tangled in some wires in the process and damaging
a surveillance camera Ervin suspended the plaintiffs without pay for three days, and
required them to pay $800 to repair the damage The incident was covered by the local
newspaper and investigated by the Tennessee Bureau of Investigation. (Matthews Dep. at
31-38; Jaggers Dep. at 17-23.)

Later in 2002, defendant Riley challenged Ervin in the McNairy County Sheriff`s

election. Matthews and Jaggers placed signs in their yards supporting Ervin and, if asked,

Case 1:03-cv-01210-.]DT-STA Document 52 Filed 06/23/05 Page 4 of 12 Page|D 56

would state that they were supporting Ervin. However, neither Matthews nor Jaggers
contributed money to Ervin’s campaign, attended fund-raisers or rallies supporting him, had
a bumper sticker on their vehicle, or were involved in his campaign in any other way.
(Matthews Dep. at 42-43; Jaggers Dep. at 25-27.)

Riley defeated Ervin in the August 2002 election. Prior to taking office, he consulted
with the McNairy County attorney, Craig Kennedy, about whether it would be legal if he
chose not to retain Matthews and Jaggers as deputies, since they were employees-at-will.
Kennedy questioned Riley to ensure that he did not seek to fire the deputies for supporting
his opponent Satisfied that Riley’s decision was based on the practical joke incident in the
911 office, Kennedy advised that, in his opinion, Riley could legally fire Matthews and
Jaggers (Kennedy Aff. 111 3, 6-7', Riley Aff. 111 3-4, 6.) Consequently, l\/latthews and
Jaggers were terminated

Following his termination, Matthews applied for a position with the Jackson Police
Department and received a bad job reference. However, Matthews does not know whether
that reference came from Riley or anyone at the McNairy County Sheriff`s Department.
(Matthews Dep. at 59~60.) Jaggers also applied for work with other entities, including the
Hardin County Sheriff’ s Department. Hardin County Sheriff Samrny Davidson told Jaggers
that he received a phone call from someone who identified himself as the McNairy County
Sheriff. The person wanted to know why Davidson was going to hire Jaggers; however,

when Davidson specifically asked the caller’s identity, the person hung up. Jaggers did not

Case 1:03-cv-01210-.]DT-STA Document 52 Filed 06/23/05 Page 5 of 12 Page|D 57

know who the caller actually was (Jaggers Dep. at 41-43.)

ln order to establish a claim for First Amendment retaliation, the plaintiffs must prove
three elements: “(l) the plaintiff engaged in protected conduct; (2) an adverse action was
taken against the plaintiff that would deter a person of ordinary firmness from continuing
to engage in that conduct; and (3) there is a causal connection between elements one and
two-that is, the adverse action was motivated at least in part by the plaintiffs protected
conduct.” Sowards v. Loudon Countyq Tenn., 203 F.3d 426, 431 (6‘h Cir. 2000) (quoting
Thaddeus-X v. Blatter, 175 F .3d 378, 394 (6th Cir. 1999) (en banc)). If plaintiffs meet that
burden, the burden then shifts to the defendants to prove that the adverse employment action
would have been taken even in the absence of the protected conduct. Board of County
Comm’rs v. Umbehr, 518 U.S. 668, 675 (1996); Sowards, 203 F.3d at 431.

The defendants do not dispute that the plaintiffs have met the first two elements of
their retaliation claim. Support of a political candidate falls within the scope of the right of
political association protected by the First Amendment. _SE Elrod v. Burns, 427 U.S. 347,
356 (1976).2 In addition, plaintiffs were terminated from their positions This action, if
motivated by their political activities, would deter a “person of ordinary firmness” from
engaging in such activity. Defendants contend, however, that the plaintiffs cannot establish
a causal connection between the terminations and their protected political activity. In

addition, defendants maintain that the plaintiffs would have been terminated even in the

 

2 There is no claim that the plaintiffs were the type of confidential, policy-making employees for which
political affiliation is an appropriate job requirement, and who may be excepted from Elrod’s general rule.

5

Case 1:03-cv-01210-.]DT-STA Document 52 Filed 06/23/05 Page 6 of 12 Page|D 58

absence of their support of Ervin for sheriff
ln his deposition, Riley testified that his sole motivation in firing Matthews and
J agger was the practical joke incident at the 911 office. (Riley Dep. at 55.) He further states
in his affidavit that he sought, and relied upon, the advice of the county attorney in making
that decision. (Riley Aff. fm 3-5.) In addition, the deposition testimony of both Matthews
and Jaggers shows that they also believed their termination to have been motivated by the
incident in the 911 office. Matthews testified:
Q. Now, Mr. Matthews, you allege in your complaint that you were
intentionally fired because of your political beliefs On what facts do
you rely to make that allegation?
A. Well, just like that deal up there at 911with Ruth and all them that
work at 91 1. That comment was made up there that the rat pack, was
what we were called, that they were gone if Tommy got elected w or
when he got elected
(Matthews Dep. at 68.)
Q. Anybody ever said that Tommy Riley said you’re going to get fired

because you’ve got an “Ervin For Sheriff” sign in your yard?
A. No.

I_d. at 70.

Q. Has anybody told you that Sheriff Riley said that he was going to
terminate you because you verbally said you supported Sheriff Ervin?

A. Has anybody told me that?
Q. That Sheriff Riley said that he was going to terminate you because of
your political support of Sheriff Ervin?
A. No.
ld_. at 72.

Case 1:03-cv-01210-.]DT-STA Document 52 Filed 06/23/05 Page 7 of 12 Page|D 59

Jaggers testified regarding his termination as follows:

Q. In your complaint, you state that Sheriff Riley made campaign
promises to get rid of you and Mr. Matthews if he was elected sheriff
based on your support of Sheriff Ervin.

A. That was rumored in l\/lcNairy County, yes ma’am.

Q. Okay. Who told you that?

A. Anyone you met.

Q. Was he making promises to fire anybody who supported SheriffErvin,
or just you three?

A. Well, he ~“ we were referred to as a rat pack, and there might be some
others that he got rid of, yes

Q. Any idea why he was singling you three out _ the rat pack out‘?

A. l assume this came from one or two people out cf 911 dispatch. l
assume that’s where it came from. And she’s pretty controversial
about talking to people and -

Q. ls that Ruth Travis that you’re -

A. Yes, ma’am.

Q. - referring to? So you assume that the reason the rumors were going
around was because of the 911 incident?

A. That’s the way it seemed, yes.

(Jaggers Dep. at 33-34.)

Q. Okay. Here’s what I’m asking you, Mr. Jaggers Has anybody come
to you and said, Tommy Riley told me he was going to fire you if he
got elected?

A. Mm-hum.

Q. Who?

A. Joe David Pettigrew, Dorothy Pettigrew.

Q. Dorothy?

A. Mrn-hurn. Sheriff Ervin even told me that he had heard that through
the rumors

Q. But I’m not asking about what he had heard through a rumor. I’m
asking what individual came to you and said, Tommy Riley told me
personally that he was going to fire you if he got elected?

A. Those two people. But you have to understand how those two people
interact.

Q. Okay. Explain what you mean.

A. They’re good - they’re very good at spreading rumors also. Rumors

7

Case 1:03-cv-01210-.]DT-STA Document 52 Filed 06/23/05 Page 8 of 12 Page|D 60

was running rampant in McNairy County.
Q. So are you saying that because they’re good at spreading rumors, what
they told you may not have been exactly what they were told?
A. Could not have been. The night 1 heard that, there was a group of
people there, and they were all drinking You start one thing. Then by
the time it gets down here, it’s _ it’s really bad.
Okay.
But he had told me. Now, that had come out of his mouth. And Ms.
Pettigrew told me that out of her mouth.
Okay. What exactly did they say?
They refer to you all three as the rat pack. And when he becomes the
sheriff, you all are fired

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Okay. Did Mr. or Mrs. Pettigrew tell you why Sheriff Riley was
supposedly going to fire you?

A. lt was for the 911 incident, l think, and then some other deal, like Mr.

Matthews was explaining to you there, that happened maybe a year,
year and a half earlier.
l_d. at 47-49.

In their response in opposition to the motion for summary judgment, plaintiffs argue
that the evidence on the issue of retaliation is disputed Plaintiffs point out that their support
of Ervin in the 2002 election was generally known in McNairy County. However, the mere
fact that Riley may have known the plaintiffs supported Ervin is, without more, insufficient
to create a genuine issue of material fact regarding the reason for their termination

Plaintiffs also assert that the incident in the 91 1 office could not have been the reason
for their termination because (l) they had already been disciplined for the incident and (2)
all Riley knew of the incident was what he read in the newspaper. However, while these

facts may have some bearing on the wisdom of Riley’s stated reason for plaintiffs’

termination, they are insufficient to raise a genuine issue of material fact regarding the

8

Case 1:03-cv-01210-.]DT-STA Document 52 Filed 06/23/05 Page 9 of 12 Page|D 61

motivation for that decision.

The Court concludes that the plaintiffs have failed to show that there are material
facts in dispute on the issue of whether their termination was a violation of their rights under
the First Amendment.

The parties do not actually address plaintiffs’ claim that they were denied due process
of law. Nevertheless, the Court also concludes that there is no evidence that the plaintiffs’
termination was a violation of either procedural due process or substantive due process
Although plaintiffs assert that Riley admitted in his deposition that he did not follow proper
procedures for their dismissal, the referenced portion of Riley’s deposition has not been
made part of the record In addition, the plaintiffs have not set forth any procedures which
were allegedly required

As the Court has determined that there is no evidence of any constitutional violation
in this case, it is not necessary to address the issue of qualified immunity.

Plaintiffs’ complaint also purports to state a cause of action for wrongful termination
pursuant to Tenn. Code Ann. § 7-51-1501, which provides, in pertinent part:

Notwithstanding the provisions of any county, municipal, metropolitan, or

other local governmental charter to the contrary, and notwithstanding the

provisions of any resolution or ordinance adopted by any such county,

municipality or other local governmental unit to the contrary, every employee

of every such local governmental unit shall enjoy the same rights of other

citizens of Tennessee . . . to participate in political activities by supporting or

opposing political parties, political candidates, and petitions to governmental
entities; . . . .

Case 1:03-cv-01210-.]DT-STA Document 52 Filed 06/23/05 Page 10 of 12 Page|D 62

However, the Court has located no authority holding that this statutory provision creates a
separate private right of action for wrongful termination Therefore, the defendants are also
entitled to judgment as a matter of law on this claim.

Lastly, the complaint asserts a cause of action for providing false information to
prospective employers Pursuant to Tenn. Code Ann. § 50-1-105:

Any employer that, upon request by a prospective employer or a current or

former employee, provides truthful, fair and unbiased information about a

current or former employee’s job performance is presumed to be acting in

good faith and is granted a qualified immunity for the disclosure and the

consequences of the disclosure. The presumption of good faith is rebuttable

upon a showing by a preponderance of the evidence that the information

disclosed was:

(l) Knowingly false;

(2) Deliberately misleading;

(3) Disclosed for a malicious purpose;

(4) Disclosed in reckless disregard for its falsity or defamatory nature; or

(5) Violative of the current or former employee’s civil rights pursuant to

current employment discrimination laws

ln this case, there is no evidence that Riley actually provided any information, truthful
or otherwise, to any of the plaintiffs’ prospective employers Matthews apparently did
receive one bad reference when he applied with the Jackson Police Department, but he does
not know who the reference came from. (Matthews Dep. at 60.) In addition, although
someone telephoned Hardin County Sheriff Sarnmy Davidson about Jaggers’ application to

that department, saying he was the McNairy County Sheriff, the individual did not

specifically identify himself and hung up when pressed to do so. (Jaggers Dep. at 41-44.)

10

Case 1:03-cv-01210-.]DT-STA Document 52 Filed 06/23/05 Page 11 of 12 Page|D 63

This evidence is insufficient to overcome the presumption of good faith and grant of
immunity to the employer. Therefore, the defendants are entitled to summary judgment on

this issue as well.

For all the foregoing reasons, the defendants’ motion for summary judgment is
GRANTED.

lT lS SO ORDERED.

Ch/VM)M

D. TODD
ITED STATES DISTRICT JUDGE

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DATE

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